Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 1 of 19 PageID #: 654




                               EXHIBIT Z
     Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 2 of 19 PageID #: 655




Grant Proposal Cover Sheet
Date: April 20, 2015

Grant Category:                □ Children, Youth & Families                 x Immigration

Legal Name of Organization: Make the Road New York

Project Name (If applicable):Long Island Organizing Project

Contact: Javier Valdés, Co-Executive Director
Address: 1090 Suffolk Avenue, Brentwood, New York 11717
Phone: (631) 231-2220 – office // (917) 679-2971- Javier Valdés’ cell Fax: (631) 231-2229
E-mail: Javier.Valdes@maketheroadny.org

Amount requested:$100,000

Purpose of Grant: To sustain and expand the Long Island Organizing Project

Proposal Contact Person & Title (if not ED):____________________________________________________
Phone:______________________ Fax:_____________________ Email:______________________________

Organization’s Fiscal Year: Calendar year Project’s Fiscal Year: Same
Organization’s Annual Budget: $14,871,648 Project’s Budget: $549,885
Organization Year Founded: 1998
Other Major Funders: Robin Hood Foundation/Single Stop, Ford Foundation, New York City Department of
Youth and Community Development
Staff (FT & PT): 153 Website: Maketheroadny.org
Is your organization a 501 (c)(3) not-for-profit? Yes x No □ If no, Please explain:____
NOTE: Organizations that are not a 501(c)(3) or whose 501(c)(3) status is pending are required to have a Fiscal Sponsor (agent). If this applies to you, please
attach a letter from the sponsoring agent/organization acknowledging its agreement to serve as fiscal sponsor and listing its mission statement.

In one sentence, please describe what you wish to accomplish with this grant: We wish to sustain and expand
MRNY’s Long Island Organizing Project.

Geographic Location: Our members are concentrated in Brentwood, Central Islip, Patchogue and Farmingville.
(Specify boroughs and/or neighborhoods where applicable)

Population Targeted: Latino immigrants and low-income Long Islanders of color




Executive Director’s Signature:
    Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 3 of 19 PageID #: 656




                                           Make the Road New York
                                         Long Island Organizing Project
                                            Proposal for 2015-2016
Overview

Make the Road New York (MRNY) respectfully requests $100,000 from the Hagedorn Foundation to support the
expansion of our Long Island Organizing project in 2015. In the coming year we plan to use the opportunity of President
Obama’s executive action on immigration to deepen our reach into immigrant communities in both counties and build
movements for immigrants rights locally and nationally.

MRNY now has over 16,000 members in total. Our recent organizing has been critical in securing major reforms that
benefit immigrants and working people, from new rights for renters in Long Island to more protections against wage
theft for workers across the state. We are playing bigger and more influential roles in regional and national coalitions,
such as the New York City coalition to organize car wash workers and the national United We Dream coalition.

In Long Island our membership has grown to 1,400 since our launch there in 2011. We have worked with allies to make
the political establishment more responsive to our communities’ needs – no small task given the island’s recent history
of anti-immigrant politics. In the past year alone, we’ve secured far-reaching concrete reforms that are directly
benefiting working people and new immigrants, including expanded rights for low-income renters and a Suffolk County
policy that limits unjust deportations.

Demographics

The most recent Census data show that Latinos/Hispanics are 17.3 percent of the population in Suffolk County and 15.3
percent of the population of Nassau County – up from about 10 percent in both counties in 2000. In sum, Long Island’s
immigrant population continues to grow rapidly. Over half of these immigrants are from Latin America.

Further, very recent data from the Migration Policy Institute suggests that approximately 40 percent of New York’s
750,000 undocumented immigrants will be eligible for President Obama’s new immigration relief program, with
approximately 50,000 likely eligible on Long Island. As immigrant community organizations learned from the 2012 DACA
process, many immigrant New Yorkers will not readily apply, because of a lack of information, communication barriers,
and fear. This is even more true given the right-wing attempts to stop implementation. (We are confident those
attempts will be unsuccessful, however, and we are taking this time to educate our members about the program and
help them prepare their documents.)

MRNY’s Long Island membership are mostly first generation immigrants from Latin America; a majority are
undocumented and a majority are women, many with dependent children. Those with jobs often work intermittently or
in tenuous positions in food service, construction or domestic work. Our Long Island members are concentrated in
Brentwood, Central Islip and Patchogue. We also have an expanding base in Farmingville.

Proposed Project

The successes of the past year showed the continued effectiveness of integrating issue organizing and electoral
organizing. That strategy allowed us to build a base in a relatively short period of time and to develop grassroots
members who are becoming true leaders in their communities. In 2015-2016 we will do the following:

    •   Continue to drive the work of the Long Island Civic Engagement Table (LICET), applying the skills we gained from
        our work with Project Vote 2014.
    •   Take advantage of the President’s new immigration relief program to build our base by 500 (800 if
        implementation is cleared by last quarter of 2015) and use our services to support our organizing.
    Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 4 of 19 PageID #: 657

   •   Build our base through the other local issue campaigns detailed below.
   •   Continue to collaborate with churches, unions, non-profit organizations, businesses and others to advance a
       shared policy agenda.
   •   Focus on maintaining our base in Brentwood, Islip and Brookhaven, building our base in Farmingville, and
       maintaining our contacts in Patchogue, which has been a difficult place to build a base because of the distance
       from our office and the lack of public transportation.

Immigrants & Workers Rights

We have two committees, one in Nassau and one in Suffolk, which meet monthly and weekly, respectively, on workers
and immigrants rights issues. Both maintain an attendance of 25 members and have regularly mobilized to attend local
town hall meetings, visit legislators in Albany and hold press conferences.

The committees’ plans for 2015-2016 are as follows:

   1) We will work with our MRNY counterparts in New York City to mobilize for the statewide campaign for local
      minimum wage increases. The participation of Long Island residents will be particularly important because our
      elected representatives in Albany will play a critical role and because we need to make sure that Long Island is
      considered one of the high density areas that can set its own wage or be included in the top tier of any two-tier
      system. We will also continue to push for more resources for the NYS Department of Labor so it can do more to
      enforce wage theft laws.
   2) Police justice has been a major focus of our work in the past year. This is partly because the events in Staten
      Island and Ferguson resonated deeply with our Long Island members. In addition, many of our members came
      to us after being victimized by the recently indicted Sgt. Greene, who had used his badge to stop and steal from
      dozens of Latino drivers. As part of the effort to confront police racism in Long Island, we began holding “know
      your rights” workshops that have drawn dozens of new people to our offices. Through these workshops and
      community outreach, we have identified more than 26 victims of Sgt. Greene. We will continue to monitor and
      maintain community presence throughout the Suffolk County District Attorney’s prosecution of Sgt. Greene to
      ensure that he is prosecuted and punished to the fullest extent allowed by law. We will also continue to
      participate and bring community perspectives in meetings with the Department of Justice as called for in the
      consent decree between the Department of Justice and the Suffolk County Police Department. Additionally, in
      the coming year we will continue to hold regular know your rights workshops and lead the development of a
      policing campaign agenda focused on the needs of immigrants and communities of color for Long Island. We will
      advance this goal through the creation of a coalition focused on police accountability on Long Island and through
      coordinating our activities and policy goals with Communities United for Police Reform in New York City.
   3) We will monitor and address cooperation with ICE in the aftermath of the “detainer discretion” victories. These
      policies limit deportations by reining in local collaboration with ICE. Specifically we will conduct know your rights
      trainings, collect stories, and maintain community oversight of cooperation between ICE and the Suffolk Sherriff
      and the Suffolk County Police Department. Preliminary evidence suggests that collaboration with the Sherriff has
      been curtailed, but ICE activity on Long Island has escalated through collaboration with the Suffolk County Police
      Department and through aggressive enforcement operations at homes and workplaces of individuals who fall
      within the Priority Enforcement Program (PEP) guidelines which were also part of the President’s executive
      action in November of 2014 and took effect in January of 2015. We have seen three such cases among our
      membership since the middle of March this year alone.
   4) We will continue to push for state-level immigrants rights policies, focusing on policies that 1) allow all
      immigrants to access drivers licenses and 2) allow all immigrant students to access tuition aid (this policy is
      known as the New York State DREAM Act). On drivers licenses, we will continue to fortify a coalition to push this
      issue and work with legislators to build a base of support. On the DREAM Act, MRNY Long Island members will
      continue to lead this campaign. In recent weeks we’ve forcefully elevated the DREAM Act to Long Island’s
      legislators with a drumbeat of grassroots actions. Many local legislators are reluctant to support the DREAM Act
      despite the fact that the communities they represent increasingly support it. In the coming year we will
      continue to organize aggressively to keep the DREAM Act in the eye of the media, the public and elected
      officials.
    Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 5 of 19 PageID #: 658
Immigration Relief Implementation

On November 20th, 2014, President Obama announced that he would provide administrative relief to as many as five
million undocumented immigrants in the United States. As stated above, this will likely include approximately 50,000
eligible on Long Island. As immigrant community organizations have learned from the 2012 DACA process, many
immigrant New Yorkers will not automatically come forward to apply, because of a lack of available information,
communication barriers, and fear. For this reason, continuous, structured outreach is critical to ensure that as many
New Yorkers as possible apply. In addition, there is often a dearth of information about where to obtain affordable,
high-quality services; without effective outreach that includes information about how and where to apply, many
immigrants will fall prey to notarios and con artists.

The President’s announcement was an intense moment for our Long Island members, dozens of whom gathered in our
offices to watch. It was a moment of relief for some and despair for others. Everyone renewed their commitment to
fight for respect and dignity for all immigrants in the US.

 Within two days of the announcement we began holding regular workshops in our Brentwood office in order to share
accurate information and provide low-cost legal screenings for DAPA, expanded DACA and other forms of relief that
could be facilitated by other local legal service providers upon referral. Since then we have continued to hold multiple
workshops per month. These have drawn 480 immigrant Long Islanders. Hundreds of them have chosen to be screened
for DAPA eligibility. Even though attendance to informational workshops has declined significantly due to the injunction
on the implementation of DAPA and extended DACA, dozens of those who will be eligible are working with our legal
team to gather documentation to apply. However, our capacity to sustain basic DAPA and extended DACA
implementation efforts is severely limited. We’ve sustained current efforts by temporarily reassigning members of our
New York City legal team to staff legal screenings, and dedicating our two immigration and workers rights organizers to
conduct outreach and community education workshops.

At current capacity, we plan to reach 500 to 800 people in the coming year with informational workshops, depending on
when the injunction is lifted. A key part of these workshops will involve explaining the importance of continued
organizing and advocacy and signing up attendees for our organizing committees. Luba Cortes, our youth organizer, will
also incorporate immigration relief education in as she conducts youth outreach and connect will continue to connect
this to immigrants rights organizing and the NYS DREAM Act.

With funding from the Mexican Consulate, we are hiring a Long Island immigration attorney, a case manager, and
dedicating additional hours to youth outreach to help respond to the demand for immigration legal services. These
funds will allow us to provide free legal screening and application services for close to 200 Long Islanders of Mexican
descent and up to 50 immigrants of other nationalities who are eligible for DAPA or extended DACA. If the injunction is
lifted in the coming months we expect to reach the capacity of this grant within the first few months of the application
process given that many of the 120 people who have been already been screened will be eligible to apply.

Additionally, as we did in 2014 we will continue to respond to the inquiries of unaccompanied minors and families who
come to us seeking legal services by offering advice and providing referrals. Dozens came to us for help in 2014 even
though we had not advertised immigration legal services and we are better prepared to support the families that may
come to us during 2015.

Potential to scale up for DAPA

With some additional resources for our highly efficient group-processing work, we could exponentially increase the
number of Long Islanders we serve and engage them in our ongoing organizing and advocacy. We also have a real
opportunity to bring the expertise that we have gained in recent years through our large-scale canvassing efforts as part
of the Long Island Civic Engagement Table to DAPA community outreach with other partners on Long Island.

A coordinated island-wide outreach effort would ensure that immigrant Long Islanders are provided with accurate
information, in their language, about the President’s announcement and how and where they can access low-cost, high-
    Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 6 of 19 PageID #: 659
quality legal services on Long Island. MRNY and Make the Road Action Fund (MRAF) would develop a central outreach
infrastructure, modeled on issue- and electoral canvasses, that produces print and digital materials, data tracking
systems, and scripts. MRNY and MRAF would identify target neighborhoods across both counties (based on immigrant
density and the location of strong potential community partners) and then select the appropriate community partner in
each area.

With MRAF and MRNY’s support, each neighborhood partner would train and deploy a full-time outreach team including
a field manager, data manager, and outreach workers who would have conversations with people who are potentially
eligible for DAPA or DACA or those with relatives or friends who could apply. In total, this island-wide effort—
undertaken in several high-density immigrant neighborhoods—would include knocking on doors, meeting people in
high-traffic areas, making presentations at community organizations, and delivering high-quality materials and referral
information to thousands of people in each neighborhood. Each conversation would include the dissemination of
accurate information about the administrative relief policy and application process, as well as information about the
appropriate legal services available nearby. The effort would be coordinated with the ongoing effort to coordinate non-
profit legal services providers on Long Island to ensure that residents receive up-to-date information about nearby
services.

Implementing the outreach model mentioned above would ensure that that as many eligible Long Island immigrants as
possible apply and protect their families through the DAPA and extended DACA programs. Costs and the number of
partners involved will vary based on scale and amount of funding secured but we are also open to the possibility of
implementing scaled down version. A DAPA outreach team that included a small canvass and some supervision time –
the minimimum needed to implement this strategy within Make The Road New York alone – would require at least
$100,000 for 36 weeks.

Housing and Environmental Justice

Our Long Island housing committee is moving forward on these fronts:

   1) About half the members of our housing committee are low-income and immigrant homeowners. One of their
      main concerns is disproportionate enforcement of housing laws against low-income homeowners of color. To
      this end, we will monitor and identify potential organizing campaign demands resulting from the
      implementation of amendments to Article 6A of the Islip Town Code passed in December of 2014 containing
      portions that are unlawful and potentially unconstitutional. The amendments criminalize the existence of
      common property conditions such as peeling paint, clogged gutters and the presence of cockroaches and mice –
      potentially subjecting Islip homeowners to fines of up to $5,000 and incarceration for up to one year for
      violations of these new rules. The enforcement measures of these amendments are designed to harshly
      penalize homeowners for the presence of a single “violation” on their property, despite definitions that are
      often vague and excessively discretionary, and without any due process requirements such as standards of proof
      or an opportunity to defend against and appeal the Town’s determination. The amendments raise a number of
      potential legal and constitutional concerns that require further research and consideration. Among our
      concerns about the amendments’ is the clause exempting disclosure of enforcement records under the New
      York State Freedom of Information Law, which is a clear violation of FOIL.

   2) We are launching an intensive effort to create a community engagement blueprint that will help transform the
      way low-income communities of color participate in public planning processes on Long Island. We have
      partnered with the Regional Plan Association (RPA) to help RPA develop the Fourth Regional Plan with a goal of
      furthering housing, community, and economic equity on Long Island. Specifically, MRNY, in partnership with
      New York Communities For Change, will rely on our deep community roots to engage low-income immigrants,
      Latinos, African Americans, and other marginalized groups, and ensure they have a voice in the planning
      process, and prepare grassroots leaders to have a greater awareness of regional planning and how other core
      local planning decisions relate to it. This project springs directly from the experiences of our members, many of
      whom live with the consequences unfair housing and land use policies. In the coming months we will train our
      members about public planning processes – emphasizing that housing codes and community development plans
    Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 7 of 19 PageID #: 660
           reflect the desires of the privileged few who are at the planning table. We will then implement a “train the
           trainers” series that will create a grassroots infrastructure for energetic community participation.

           Our work on this project will center on educating our target communities—Brentwood, Central Islip, North Bay
           Shore, Farmingville, Coram, Patchogue and Medford—in the building blocks of such planning processes and
           engaging them in offering input about the best directions for the region.

    3) Throughout 2014, our members led actions to demand transparency and community input in the case of toxic
       dumping in Roberto Clemente Park in Brentwood, as well as highlighting the need for a town language access
       policy to make the process open to limited-English proficient residents. With our close partner and ally, the New
       York Communities for Change, MRNY members are continuing to fight to ensure that community participation
       and transparency are integral parts of the cleanup, restoration, and redevelopment phases of the park. We
       pressured the New York Department of Environmental Conservation (NYDEC) to hold a community meeting to
       discuss the Town of Islip’s Park Remediation Plan and demanded that the Town of Islip’s plan include a working
       group composed of community member organizations and other stakeholders that will work to make sure that
       the cleanup process is done in safe and thorough manner and to make sure the community is kept abreast of
       the entire process. At the recommendation of the NYDEC the Town of Islip created the working group where we
       are presented by one of the leaders of the housing committee and Long Island representative to the MRNY
       board of directors, Frank Sprouse-Guzman.

Deliverables

Our deliverables for the 2015-2016 grant are:

    •      Monitor implementation of Suffolk County Human Rights Law and language access agreements.
    •      Monitor cooperation between Suffolk County Sherriff and Suffolk County Police Department with ICE and win
           key county and administrative policies that continue to limit or eliminate systematic cooperation of local law
           enforcement with ICE for non-priority cases.
    •      Support and train Frank Sprouse-Guzman, MRNY member, to be a vocal and effective community representative
           on the Roberto Clemente Park working group which was convened by the Town of Islip.
    •      Recruit at least 500 new members in Long Island, using immigration relief as one opportunity to recruit.
    •      On the NYS DREAM Act, conduct at least five lobby visits, three community education workshops and three
           mobilizations.
    •      On minimum wage, conduct at least three community workshops, three lobby days and play leadership role in
           state and local actions on this issue.
    •      Educate 500-800 people about the President’s new immigration relief program and other relief options.
    •      Develop leadership of our members by sending 15 Long Island members to MRNY’s intensive leadership school
           and three Long Island youth members to MRNY’s youth retreat.
    •      Hold at least four forums on key issues including fair policing, administrative relief and housing.


Staffing

Walter Barrientos – an experienced immigrants rights organizer with a deep roots and knowledge of Long Island – is
our Long Island coordinator. Carlos Reyes, active leader for the last 2 years, is our immigrants and workers rights
organizer and Luiza Tanuri is our Nassau organizer. Irma Solis is our long time housing organizer and Luba Cortes is our
youth organizer. Daniel Altschuler, previously the Long Island coordinator, is now MRNY’s research and civic
engagement coordinator and plays a key role supporting our Long Island work. Alexandra San Juan is our health
advocate and Cassandra Cochran is our adult educator.
Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 8 of 19 PageID #: 661


    Make the Road New York - 2015 Projected Project Budget

                              Long Island Organizing   Hagedorn
                                    Expenses           Allocation


Personnel Services
 Payroll
 Senior leadership                    61,942             11,220
 Long Island Organizers              193,633             35,075
 Administration                       42,623              7,721
 Payroll taxes and benefits           74,549             13,504

 Total personnel services            372,747             67,521

OTPS

Accounting                             3,712                743
Consultants                            3,819                764
Equipment                             10,363              2,074
Management and General                54,132              8,064
Miscellaneous                          7,824              1,566
Supplies                              25,228              5,048
Postage                                  668                134
Printing & Copying                     3,862                773
Telephone                              7,268              1,454
Travel                                11,899              2,381
Space costs                           48,362              9,480

 Total OTPS                          177,138             32,479

Total expenditures                   549,885            100,000
 Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 9 of 19 PageID #: 662




                                                                                    2014          2015


                                                                                  Unaudited       2015
                                                                                   Actual        Budget
Revenues / Ingresos:


   Contributions / Contribuciones:
        Foundations ‐ Committed / Fundaciones ‐ Aseguradas                          6,353,818     3,218,060
        Foundations ‐ Likely Renewals / Fundaciones ‐ Probable Renovacion                  ‐      3,966,933
     Total foundations / Total de fundaciones                                       6,353,818     7,184,993
        Government ‐ Committed / Gobierno ‐ Aseguradas                              5,092,534     3,910,798
        Government ‐ Likely renewals / Gobierno ‐ Probable Renovacion                      ‐      2,278,557
    Total Government / Total del gobierno                                           5,092,534     6,189,355
    Individuals / Individuales                                                        280,524      350,000
     Corporations / Corporaciones                                                     688,863      520,100
     Membership / Membresia                                                            84,355      110,000
     Special events / Eventos especiales                                              289,315      400,000
     Admin Relief fees/ Honorarios Admin Relief                                        31,200            ‐
     Legal fees / Honorarios legales                                                   68,194       45,000
     Other revenue / Otros ingresos                                                    87,886       72,200

 Total revenues / Total de ingresos                                                12,976,689    14,871,648

Operating Expenses / Gastos de Operacion
Personnel Services / Servicios de personal
 Payroll / Nomina                                                                   7,481,243     8,790,685
   Payroll taxes and benefits / Impuestos y beneficios de la nomina                 1,656,555     1,919,235

 Total personnel services / Total de servicios para el personal                     9,137,798    10,709,921
                                                                                           22%           22%

OTPS / Gastos diferentes a los servicios personales
Accounting and audit / Contabilidad y auditoria                                        74,674       88,280
Conference and education / Conferencia y educacion                                     36,954       74,500
Consultants / Consultores                                                                              ‐
 Government relations and fundraising / Relaciones gubernamentales                     64,304       62,000
 Computers / Computadores                                                              68,711      102,000
 Database (sales force ) redesign                                                      14,318          ‐
 Other / Otros                                                                         70,508       94,500
CPD ‐ Policy & Fundraising Contract / Contrato del Centro de Democracia Popular        50,000       25,000
Equipment rental and maintenance / Arriendo y mantenimiento de equipos                 56,257      105,000
IT Software & Infrastructure / Infrastructura                                          90,455      135,000
Other costs / Otros gastos                                                            169,873      268,900
Stipends ‐ Youth / Jovenes                                                             33,904       34,000
Special event expenses / Gastos de eventos especiales                                  66,513       85,000
Supplies / Materiales                                                                 155,599      274,450
Meetings / Reuniones                                                                  112,364       95,000
Postage / Franqueo                                                                     42,830       53,000
Printing & Copying / Copias e impresiones                                              30,415       80,500
Professional liability insurance / Seguro de responsabilidad profesional               20,690       25,500
Telephone and internet / Telefono e internet                                          130,575      238,500
Travel / Viajes
 Member's metro cards / Metrocards para los miembros                                   71,672       85,000
 Buses for events / Buses para los eventos                                             23,115       45,000
 Staff / Personal                                                                     103,169      115,000
Space costs / Costo de los espacios                                                   683,231      956,526
Total OTPS                                                                          2,170,134     3,042,656



Total Operating Expenses / Total de Gastos de Operacion                            11,307,931    13,752,577

   Non Operating Expenses / Total de Gastos especialies
     Program expenses ‐ Funded / Gastos de programas ‐ subvencionados               1,377,417      548,072
     Program expenses ‐ Capital Improvements / Gastos de                               54,917      171,000

   Total Non Operating Expenses / Total de Gastos especiales                        1,432,335      719,072


Total Expenses / Total de Gastos                                                   12,740,266    14,471,649

 Working Capital Restoration / Restauracion del Capital Circulante                    236,423      400,000
        Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 10 of 19 PageID #: 663


                                                            MRNY Major Funders 2014 and 2015
 Funder Type                   Organization                              Grant Name                     Amount      Start        End             Stage
                                                         ALIGN - People's Climate March - September
Foundation     Alliance for a Greater New York (ALIGN)   2014                                              5,000     9/3/2014    9/30/2014 Committed 100%

Foundation     Alliance for a Greater New York (ALIGN)   ALIGN - Sandy Organizing 2014-2015               20,000     6/5/2014     6/4/2015 Committed 100%
                                                         ALIGN Unitarian Universalist - Sandy - 2013-
Foundation     Alliance for a Just Rebuilding            2014                                             40,000     4/1/2013    3/31/2014 Committed 100%
                                                         Altman Foundation Health Policy Initiative
Foundation     Altman Foundation                         2013-2014                                        40,000    12/1/2013   11/30/2014 Committed 100%
                                                         Altman Foundation Health Policy Initiative
Foundation     Altman Foundation                         2014-2015                                        60,000    12/1/2014   11/30/2015 Committed 100%
                                                         American Red Cross Hurricane Sandy
Foundation     American Red Cross of Greater NY          Recovery Grant 2014 - 2015                      250,000     3/1/2014    4/30/2015 Committed 100%
                                                         Andrus Family Fund - Verrazano Civic
Foundation     Andrus Family Fund                        Engagement Table - 2014-2015                     16,395     5/1/2014    4/30/2015 Committed 100%
                                                         Anonymous Foundation Good Jobs 2013-
Foundation     Anonymous Foundation                      2014                                             80,000   12/18/2013   12/17/2014 Committed 100%
                                                         Anonymous Foundation Good Jobs 2014-
Foundation     Anonymous Foundation                      2015                                            150,000   12/18/2014   12/18/2015 Committed 100%
                                                         Anonymous Foundation Good Jobs 2015-
Foundation     Anonymous Foundation                      2016                                             80,000   12/18/2015   12/17/2016 Likely Renewal 90%
                                                         Atlantic Philanthropies Talking Transitions
Foundation     Atlantic Philanthropies                   Grant 2013                                       10,000    11/1/2013   10/31/2014 Committed 100%
                                                         Lily Auchincloss Foundation Youth Power
Foundation     Auchincloss Foundation                    Project 2014                                     15,000     4/9/2014     4/8/2015 Committed 100%
                                                         Bauman Foundation General Operating
Foundation     Bauman Foundation                         Grant 2013                                       10,000     8/9/2013     8/8/2014 Committed 100%
                                                         Benjamin N. Cardozo Immigration Fellowship
Foundation     Benjamin N. Cardozo School of Law         2014-2016                                        75,000     9/1/2014    3/31/2016 Committed 100%
                                                         Calamus Foundation Discretionary Grant
Foundation     Calamus Foundation                        LGBTQ 2014-2015                                  20,000   12/15/2014   12/14/2015 Committed 100%
               Capital One, Community Development        Capital One Tenant Education and
Foundation     Banking                                   Engagement Initiative 2014-2015                  10,000    9/16/2014    9/15/2015 Committed 100%
               Capital One, Community Development        Capital One Tenant Education and
Foundation     Banking                                   Engagement Initiative 2015-2016                  10,000    9/16/2015    9/15/2016 Committed 100%
               Capital One, Community Development        Capital One Tenant Education and
Foundation     Banking                                   Engagement Initiative 2013-2014                  10,000    9/16/2013    9/15/2014 Committed 100%
                                                         Center for Community Change / JPB -
Foundation     Center for Community Change               Workers Organizing - 2013-2014                  150,000   12/15/2013   12/14/2014 Committed 100%
                                                         CCC - email list improvement - Aug.-Dec.
Foundation     Center for Community Change               2014                                             10,000     8/1/2014   12/31/2014 Committed 100%
                                                         Center for Community Change -
Foundation     Center for Community Change               Administrative Relief - Oct-Nov 2014              5,000    10/1/2014   11/30/2014 Committed 100%
                                                         Center for Community Change - Civic
Foundation     Center for Community Change               Engagement 2014                                  65,000     7/1/2014    12/1/2014 Committed 100%
                                                         Center for Community Change - Movement
Foundation     Center for Community Change               Building Training - 2014                          5,000     6/1/2014    7/31/2014 Committed 100%
                                                         Center for Disaster Philanthropy Sandy
Foundation     Center for Disaster Philanthropy          Organizing 2013-14                               50,000     8/1/2013    7/31/2014 Committed 100%
                                                         CPD Tides Foundation FFJP Electoral Grant
Foundation     Center for Popular Democracy              2013-2014                                        17,500     6/1/2013    5/31/2014 Committed 100%

                                                         CPD Andrus Foundation Suffolk Opportunity
Foundation     Center for Popular Democracy              Security and Dignity Initiative 2013-2014        22,500     7/1/2013    6/30/2014 Committed 100%
                                                         Hagedorn / CPD - Movement Building
Foundation     Center for Popular Democracy              Fellowship LICET - 2014                          26,400     5/1/2014   12/31/2014 Committed 100%
                                                         CPD Tides Foundation FFJP Electoral Grant
Foundation     Center for Popular Democracy              2014-2015                                         8,333     6/1/2014    5/31/2015 Committed 100%
                                                         CPD / North Star / CEJ - parent organizing -
Foundation     Center for Popular Democracy              2015                                             15,268    11/3/2014     9/3/2015 Committed 100%
                                                         CPD New York Immigrant Family Unity
Foundation     Center for Popular Democracy              Project - CRIPP - 2014                           15,000     6/8/2014   12/31/2014 Committed 100%




                                                                                1
        Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 11 of 19 PageID #: 664



                                                          CPD Marguerite Casey & Ford Foundation
Foundation   Center for Popular Democracy                 Sustainability Initiative 2014                  45,000   1/30/2014   12/31/2014 Committed 100%
                                                          CPD / Wyss Foundation - Childcare Workers
Foundation   Center for Popular Democracy                 Organizing Pilot Project 2015                   15,000    1/1/2015    4/30/2015 Committed 100%
             Center for the Biology of Natural Systems at CUNY WDI (through Queens College CBNS)
Foundation   Queens College                               Workforce 2013-2014                              7,500    9/1/2013    8/31/2014 Committed 100%
                                                          CUNY WDI (through Queens College CBNS)
             Center for the Biology of Natural Systems at Workforce Aug 2014-15 Subcontract No.
Foundation   Queens College                               41900-C                                          8,000    9/1/2014    8/31/2015 Committed 100%
                                                          Community Health Worker Network /
                                                          Columbia University - My Smile Buddy -
Foundation   Community Health Worker Network              Health Grant 2015                               67,439    3/1/2015   12/31/2015 Committed 100%
                                                          Community Health Worker Network /
                                                          Columbia University - My Smile Buddy -
Foundation   Community Health Worker Network              Health Grant 2016                              115,610    1/1/2016   12/31/2016 Committed 100%
                                                          Community Health Worker Network /
                                                          Columbia University - My Smile Buddy -
Foundation   Community Health Worker Network              Health Grant 2017                               57,805    1/1/2017    6/30/2017 Committed 100%

Foundation   Community Service Society                   HCFANY CommCat paticipation 2013-2014            30,000   5/15/2013    4/30/2014 Committed 100%
                                                         HCFANY Atlantic Philanthropies participation
Foundation   Community Service Society                   2013-2014                                        20,000    3/1/2013    2/28/2014 Committed 100%
                                                         HCFANY Atlantic Philanthropies participation
Foundation   Community Service Society                   2014-2015                                        35,000    4/1/2014    1/31/2015 Committed 100%
                                                         HCFANY Robert Wood Johnson participation
Foundation   Community Service Society                   2013-2014                                        30,000    7/1/2013    6/30/2014 Committed 100%
                                                         HCFANY CSS CommCat paticipation 2014-
Foundation   Community Service Society                   2015                                             15,000   8/15/2014    7/15/2015 Committed 100%

Foundation   Community Service Society                   CSS HCFANY CVC participation 2014-2015           40,000   10/1/2014     9/4/2015 Committed 100%
                                                         HCFANY Atlantic Philanthropies participation
Foundation   Community Service Society                   2015-2016                                        25,000    2/1/2015    1/31/2016 Committed 100%
Foundation   Community Service Society                   HCFANY CVC participation 2013-2014               25,000   10/1/2013    9/30/2014 Committed 100%
                                                         Cricket Island Youth Power Project 2013-
Foundation   Cricket Island Foundation                   2014                                            100,000    7/1/2013    6/30/2014 Committed 100%
                                                         Cricket Island Youth Power Project 2014-
Foundation   Cricket Island Foundation                   2015                                            100,000    7/1/2014    6/30/2015 Committed 100%
                                                         Cricket Island Capacity Building Fund Grant -
Foundation   Cricket Island Foundation                   YPP - 2014-2015                                   8,000   6/20/2014    6/19/2015 Committed 100%
                                                         Cricket Island Capacity Building Fund Grant
Foundation   Cricket Island Foundation                   2014                                              8,000   11/4/2013    6/20/2014 Committed 100%
                                                         Deutsche Bank Mexican Student Anchoring
                                                         Achievement Grant - Youth - Queens 2013-
Foundation   Deutsche Bank Americas Foundation           2014                                             38,700    9/1/2013    8/31/2014 Committed 100%

                                                         Deutsche Bank Mexican Student Anchoring
Foundation   Deutsche Bank Americas Foundation           Achievement Staten Island 2013-2014              30,000    9/1/2013    8/31/2014 Committed 100%
                                                         Deutsche Bank Mexican Student Anchoring
                                                         Achievement Grant - Youth - Queens 2014-
Foundation   Deutsche Bank Americas Foundation           2015                                             38,700    9/1/2014    8/31/2015 Committed 100%

                                                         Deutsche Bank Mexican Student Anchoring
Foundation   Deutsche Bank Americas Foundation           Achievement Staten Island 2014-2015              30,000    9/1/2014    8/31/2015 Committed 100%
                                                         Deutsche Bank Mexican Student Anchoring
                                                         Achievement Grant - Youth - Queens 2015-
Foundation   Deutsche Bank Americas Foundation           2016                                             38,700    9/1/2015    8/31/2016 Committed 100%
                                                         NESRI / Donors Education Collaborative
             Donors Education Collaborative in the New   (DEC) / NYCT - Dignity in Schools Campaign
Foundation   York Community Trust                        2014-2015                                        24,570   5/16/2014    5/15/2015 Committed 100%

             Donors Education Collaborative in the New   NYCT Donors Education Collaborative (DEC) -
Foundation   York Community Trust                        CEJ - Parent Organizing - 2014-2015              95,000   5/17/2014    5/16/2015 Committed 100%




                                                                                 2
        Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 12 of 19 PageID #: 665



             Donors Education Collaborative in the New    Donors Education Collaborative (DEC) - NYCT
Foundation   York Community Trust                         - Overcrowding Initiative 2014 - 2015             70,000     3/17/2014    3/16/2015 Committed 100%
                                                          Durst Family Foundation Sandy Relief Staten
Foundation   Durst Family Foundation                      Island 2013                                       50,000      5/1/2013    4/30/2014 Committed 100%
                                                          Hazen Foundation Education Justice 2013-
Foundation   Edward W. Hazen Foundation                   2014                                              30,000     12/1/2013   11/30/2014 Committed 100%
                                                          Hazen Foundation Education Justice 2014-
Foundation   Edward W. Hazen Foundation                   2015                                              30,000     12/8/2014    12/7/2015 Committed 100%
                                                          Encore Funded Portion of RH Encore Grant -
Foundation   Encore Fellowships Network Program           Margaret Linehan                                  10,000     8/19/2013    8/18/2014 Committed 100%
                                                          Equal Justice Works Fellowship Sara
Foundation   Equal Justice Works                          Cullinane 2012-2014                               82,000     9/26/2012    9/26/2014 Committed 100%
                                                          Ford Foundation / ALIGN Economic
Foundation   Ford Foundation                              Development 2012-2013                             25,000      6/1/2012    5/31/2013 Committed 100%
Foundation   Ford Foundation                              Ford Foundation - Organizing 2013-2015           530,000      7/1/2013    6/30/2015 Committed 100%
Foundation   Four Freedoms Fund                           Four Freedoms Fund - LICET - 2014-2015            30,000     7/28/2014   11/28/2014 Committed 100%
                                                          Hagedorn Suffolk Civic Engagement 2013-
Foundation   Hagedorn Foundation                          2014                                             435,000     5/14/2013    5/13/2014 Committed 100%
                                                          Hagedorn Common Cause LICET Redistricting
Foundation   Hagedorn Foundation                          2013 - 2014                                       35,000    10/10/2013   10/10/2014 Committed 100%
                                                          Hagedorn Nassau Civic Engagement 2013 -
Foundation   Hagedorn Foundation                          2014                                             110,500     12/2/2013    4/30/2014 Committed 100%
                                                          Hagedorn -Long Island Organizing Project-
Foundation   Hagedorn Foundation                          2014-2015                                        100,000     3/15/2014    3/14/2015 Committed 100%
                                                          Hagedorn - Long Island Civic Engagement
Foundation   Hagedorn Foundation                          Table - 2014-2015                                640,000      5/1/2014    4/30/2015 Committed 100%
                                                          Hispanic Federation ACA Education
Foundation   Hispanic Federation                          Campaign 2013-2014                                10,000      9/1/2013     7/1/2014 Committed 100%
                                                          Hispanic Federation CORE Capacity Building
Foundation   Hispanic Federation                          Grant 2014                                        20,000     7/15/2014    7/14/2015 Committed 100%

Foundation   Hispanic Federation                          Hispanic Federation - Adult Lit - 2014-2015       15,000      7/1/2014    6/13/2015 Committed 100%
                                                          Hispanic Federation - Nonprofit Stabilization
Foundation   Hispanic Federation                          Fund Jan - June 2015                              15,000     1/16/2015    6/30/2015 Committed 100%
                                                          Immigrant Justice Corps Justice Fellowship
Foundation   Immigrant Justice Corps Justice Fellowship   2014-15                                          125,000      9/1/2014    8/18/2015 Committed 100%
                                                          INCO - Neighborhood Opportunities Fund
Foundation   INCO - Neighborhood Opportunities Fund       2013-2014                                         10,000      3/1/2013    2/28/2014 Committed 100%

                                                          Institute of International Education / Ford -
Foundation   Institute of International Education         Rockwood Leadership Institute - 2015              12,000     1/25/2015    6/30/2015 Committed 100%
Foundation   J.M. Kaplan Fund                             J.M. Kaplan - General Support - 2014              19,000      1/1/2014   12/31/2014 Committed 100%
Foundation   J.M. Kaplan Fund                             J.M. Kaplan - General Support - 2015              25,000      1/1/2015   12/31/2015 Committed 100%
                                                          Jerome L. Greene Foundation - General
Foundation   Jerome L. Greene Foundation                  Operating Grant 2015-2018                       1,200,000    10/1/2015    9/30/2018 Committed 100%
             Katharine S. and Axel G. Rosin Fund-
Foundation   Scherman                                     Rosin Fund Housing Coalition 2013-2016           150,000     10/1/2013    9/30/2016 Committed 100%
             Katharine S. and Axel G. Rosin Fund-         Rosin Fund - CPD - Workplace Dignity 2013-
Foundation   Scherman                                     2016                                             250,000     10/1/2013    9/30/2016 Committed 100%
Foundation   Liberty Hill Foundation                      Liberty Hill - LGBTQ Justice 2011-2014           100,000     6/17/2011    6/17/2014 Committed 100%
                                                          LISC - BSSJ Student Success Center 2013-
Foundation   Local Initiatives Support Corporation        2014                                              51,000      9/1/2013    8/31/2014 Committed 100%
                                                          LISC - BSSJ Student Success Center 2014-
Foundation   Local Initiatives Support Corporation        2015                                              44,000      9/1/2014    8/31/2015 Committed 100%

                                                          Long Island Community Foundation (LICF)
Foundation   Long Island Community Foundation             Suffolk Language Access LICET 2013-2014           20,000      4/9/2013     4/8/2014 Committed 100%

Foundation   Long Island Community Foundation             LICF - LICET emerging leaders program - 2014      20,000      4/8/2014     4/7/2015 Committed 100%

Foundation   M & T Charitable Foundation                  M & T - Housing Justice Initiative 2013-14         5,000      7/1/2013    6/30/2014 Committed 100%

Foundation   M & T Charitable Foundation                  M & T - Housing Justice Initiative 2014-2015       5,000      7/1/2014    6/30/2015 Committed 100%




                                                                                   3
        Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 13 of 19 PageID #: 666


                                                          Main Street Alliance - Small Business United -
Foundation   Main Street Alliance                         2014-2015                                         60,000    4/24/2014    4/23/2015 Committed 100%
                                                          Mary J Hutchins Health and Civil Justice
Foundation   Mary J. Hutchins Foundation, Inc.            Project 2013-2014                                 30,000    9/15/2013    9/14/2014 Committed 100%
                                                          Mary J Hutchins Health and Civil Justice
Foundation   Mary J. Hutchins Foundation, Inc.            Project 2014-2015                                 30,000    9/15/2014    9/14/2015 Committed 100%
                                                          Merck Family Fund - Youth Urban Farming
Foundation   Merck Family Fund                            2014-15                                           25,000   11/30/2014   11/29/2015 Committed 100%
                                                          Merck Family Fund - Youth Urban Farming
Foundation   Merck Family Fund                            2013-2014                                         25,000   11/30/2013   11/29/2014 Committed 100%
                                                          Mertz Gilmore Foundation - General
Foundation   Mertz Gilmore Foundation                     Operating - 2013-15                              150,000     5/1/2013    4/30/2015 Committed 100%
Foundation   Mertz Gilmore Foundation                     Mertz Gilmore - Rockwood - 2014-2015              10,000   10/30/2014   10/29/2015 Committed 100%
                                                          Alliance for Education Justice Youth Justice
Foundation   Movement Strategy Center                     Corps 2013-2014                                    5,000     4/1/2013    3/31/2014 Committed 100%

             NALCAB - National Association for Latino     NALCAB Capital-Focused Small Business
Foundation   Community Asset Builders                     Development Services 2014-15                      32,500    10/1/2014    9/30/2015 Committed 100%
                                                          Nathan Cummings - General Support - 2014-
Foundation   Nathan Cummings Foundation                   2015                                             200,000     7/1/2014    6/30/2015 Committed 100%

             National Association of Latino Elected and
Foundation   Appointed Officials Educational Fund         NALEO Naturalization - July 2013 - June 2014      36,000     7/1/2013    6/30/2014 Committed 100%

             National Association of Latino Elected and
Foundation   Appointed Officials Educational Fund         NALEO Naturalization - July 2014 - June 2015      30,719     7/1/2014    6/30/2015 Committed 100%
Foundation   National Council of La Raza                  NCLR LEAP - Voter Power- 2014                     14,500     5/1/2014   11/30/2014 Committed 100%
Foundation   National Council of La Raza                  NCLR Bienvenidos ESL Grant 2014                   40,000   12/16/2013    8/31/2014 Committed 100%
Foundation   National Council of La Raza                  NCLR Workers Rights Project 2014                  10,000     3/1/2014    2/28/2015 Committed 100%

Foundation   New World Foundation                         New World Foundation COIN Scholars 2014           28,800    6/11/2014     9/1/2014 Committed 100%

                                                        Peter and Carmen Lucia Buck Foundation /
             New York Academy of Medicine Center for    New York Academy of Medicine - Pharmacy
Foundation   Urban Epidemiologic Studies                Monitoring - 2014-2015                              87,500    6/15/2014    9/15/2015 Committed 100%
             New York City Coalition for Educational    Coalition for Education Justice (CEJ)
Foundation   Justice                                    Universal Pre-Kindergarten (UPK) 2014               20,000    1/28/2014     4/1/2014 Committed 100%
                                                        NYCC Advocacy Fund FFJP Electoral Grant
Foundation   New York Communities for Change (NYCC)     2013-2014                                           15,610     6/1/2013    5/31/2014 Committed 100%
                                                        NYCC Advocacy Fund FFJP Electoral Grant
Foundation   New York Communities for Change (NYCC)     2014-2015                                           23,520     6/1/2014    5/31/2015 Committed 100%
                                                        New York Communities Organizing Fund -
Foundation   New York Communities Organizing Fund, Inc. Housing Organizing - 2014-2015                      14,500     8/1/2014     8/1/2015 Committed 100%
                                                        New York Community Trust - NESRI - Dignity
Foundation   New York Community Trust                   in Schools Campaign 2015                             7,737    12/1/2014   11/30/2015 Committed 100%
                                                        New York Foundation Strategic
                                                        Opportunities Fund Verrazano Civic
Foundation   New York Foundation                        Engagement Table 2013-2014                          40,000     6/5/2013     6/4/2014 Committed 100%
                                                        New York Foundation - NESRI - Dignity in
Foundation   New York Foundation                        Schools Campaign 2015                                4,943   10/15/2014   10/14/2015 Committed 100%
                                                        New York State Health Foundation Health
Foundation   New York State Health Foundation           Navigator Project 2013-2014                        115,000     7/1/2013   12/31/2014 Committed 100%
                                                        New York State Health Foundation Health
Foundation   New York State Health Foundation           Navigator Project 2015-2016                        150,000     1/1/2015    3/31/2016 Committed 100%
Foundation   New York Women's Foundation                NYWF RISE NYC- Workforce 2014                       70,000     1/1/2014   12/31/2014 Committed 100%
Foundation   New York Women's Foundation                NYWF - Workforce - 2015                             70,000     1/1/2015   12/31/2015 Committed 100%

Foundation   New York Women's Foundation                  NYWF Sandy Relief SI Jan 2014 - Dec 2014          60,000     1/1/2014   12/31/2014 Committed 100%

Foundation   New York Women's Foundation                  NYWF Sandy Relief SI Jan 2015 - Dec 2015          60,000     1/1/2015   12/31/2015 Committed 100%
Foundation   New York Women's Foundation                  NYWF Capacity Building 2014-2015                   5,000     9/1/2014     9/1/2015 Committed 100%
                                                          Nonprofit VOTE - LICET Voter Engagement -
Foundation   Nonprofit VOTE                               2014                                              17,500     6/8/2014   12/31/2014 Committed 100%
                                                          North Star Fund - Kindling Fund - Long Island
Foundation   North Star Fund                              GOTV 2014                                          5,000   10/17/2014   10/16/2015 Committed 100%



                                                                                  4
        Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 14 of 19 PageID #: 667


                                                          North Star Fund Pass Through - Police
Foundation   North Star Fund                              Accountability - Jan-March 2015                   5,000     1/1/2015    3/31/2015 Committed 100%

                                                          North Star Fund - Communities United for
Foundation   North Star Fund                              Police Reform - Power Together 2015               5,000     1/1/2015   12/31/2015 Committed 100%
             NYU Bickel and Brewer Latino Institute for   NYU Bickel and Brewer Latino Institute for
Foundation   Human Rights                                 Human Rights Fellowship                         100,000    9/24/2012    9/23/2014 Committed 100%
                                                          Project Vote - Staten Island VCET Voter
Foundation   Project Vote                                 Engagement - 2014                               259,200    7/28/2014   11/18/2014 Committed 100%
                                                          Project Vote - Long Island LICET Voter
Foundation   Project Vote                                 Engagement - 2014                               238,100    7/28/2014   11/18/2014 Committed 100%
                                                          Alliance for Quality Education (AQE) Grant
Foundation   Public Policy and Education Fund             for Parent Organizing 2013-14                    37,500    12/1/2013   11/30/2014 Committed 100%

                                                          AQE Alliance for Quality Education - parent /
Foundation   Public Policy and Education Fund             education organizing - Feb. & March 2015         10,000    2/11/2015    3/31/2015 Committed 100%
                                                          Public Policy and Education Fund Post
Foundation   Public Policy and Education Fund             Electoral Organizing 2014                         6,000    11/1/2014   12/31/2014 Committed 100%
                                                          Public Welfare Foundation Workplace
Foundation   Public Welfare Foundation, Inc.              Justice 2013-2014                                75,000     6/1/2013    5/31/2014 Committed 100%
                                                          Public Welfare Foundation Workplace
Foundation   Public Welfare Foundation, Inc.              Justice 2014-2016                               150,000     6/2/2014    5/31/2016 Committed 100%

                                                          Regional Plan Association (RPA) - community
Foundation   Regional Plan Association                    engagement Long Island - 2015                    40,000    2/16/2015    8/13/2015 Committed 100%
                                                          Robert Sterling Clark - CPD - Workplace
Foundation   Robert Sterling Clark Foundation, Inc.       Justice - 2014-2015                              70,000    8/15/2014    8/15/2015 Committed 100%
                                                          Robert Wood Johnson Foundation Paid Sick
Foundation   Robert Wood Johnson Foundation               Days Initiative with CSS 2012-2014               80,000   11/15/2012   10/31/2014 Committed 100%
                                                          Robin Hood Adult Literacy, Workforce, Food
Foundation   Robin Hood Foundation                        Stamps - 2013-2014                              382,400     2/4/2013     2/3/2014 Committed 100%
                                                          Robin Hood Immigration Legal Services 2013-
Foundation   Robin Hood Foundation                        2014                                            100,000     7/1/2013    6/30/2014 Committed 100%
                                                          Robin Hood Adult Literacy, Workforce, Food
Foundation   Robin Hood Foundation                        Stamps - 2015-2016                              425,000     2/3/2015     2/2/2016 Committed 100%
                                                          Robin Hood / SSUSA Transition Tent Legal
Foundation   Robin Hood Foundation                        2013                                             25,000    11/9/2013    12/9/2013 Committed 100%
                                                          Robin Hood Immigration Legal Services 2014-
Foundation   Robin Hood Foundation                        2015                                            100,000     7/1/2014    6/30/2015 Committed 100%
                                                          Robin Hood Adult Literacy, Workforce, Food
Foundation   Robin Hood Foundation                        Stamps - 2014-2015                              425,000    1/24/2014    1/23/2015 Committed 100%
                                                          Robin Hood Unaccompanied Minors Legal
Foundation   Robin Hood Foundation                        Immigration Services 2014-2015                  100,000   10/28/2014    1/28/2016 Committed 100%
                                                          New Jersey Communities United -
Foundation   Rockefeller Family Fund                      Rockefeller Family Fund 2013-2014                 5,000                          Committed 100%
                                                          Rockefeller Family Fund - Climate Change -
Foundation   Rockefeller Family Fund                      2014-2015                                       100,000     9/1/2014    6/30/2015 Committed 100%
Foundation   RTS Family Foundation                        RTS Family Foundation 2013-2014                 100,000    9/26/2013    9/25/2014 Committed 100%
                                                          Scherman Foundation - General Operating -
Foundation   Scherman Foundation, Inc.                    2012-2014                                        75,000     4/1/2012    3/31/2014 Committed 100%
                                                          Scherman Foundation - General Operating -
Foundation   Scherman Foundation, Inc.                    2014-2016                                        50,000     4/1/2014    3/31/2016 Committed 100%
Foundation   Single Stop USA                              Single Stop USA 2013 - 2014                     400,000     7/1/2013    6/30/2014 Committed 100%
Foundation   Single Stop USA                              Single Stop USA 2014 - 2015                     400,000     7/1/2014    6/30/2015 Committed 100%
                                                          Single Stop / Robin Hood - Consumer Fraud -
Foundation   Single Stop USA                              2014-2015                                       200,000     7/1/2014    7/30/2015 Committed 100%
                                                          Staten Island Foundation - Adult Education,
                                                          Employment and Training Program - 2014-
Foundation   Staten Island Foundation                     2015                                             50,000     4/7/2014     4/6/2015 Committed 100%
Foundation   Surdna Foundation                            Surdna Foundation 2012-2014                     200,000     5/1/2012    4/30/2014 Committed 100%
Foundation   Surdna Foundation                            Surdna Foundation Sandy 2013                     15,000    1/15/2013    1/14/2014 Committed 100%

                                                          The Advocacy Fund FFJP Youth United for
Foundation   The Advocacy Fund                            Police Reform - TFR13-01624 - 2013-2014          35,000     6/1/2013    5/31/2014 Committed 100%




                                                                                  5
        Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 15 of 19 PageID #: 668



                                                          Alliance for Citizenship / The Advocacy Fund -
Foundation   The Advocacy Fund                            Civic Engagement - May-July 2014                  10,000     5/1/2014    7/31/2014 Committed 100%

                                                          The Advocacy Fund FFJP Youth United for
Foundation   The Advocacy Fund                            Police Reform - 2014-2015 - TAO14-00033           25,000     7/1/2014    6/30/2015 Committed 100%
                                                          LIFT Fund / New World Foundation- Car
Foundation   The LIFT Fund                                Wash Organizing - 2014-2015                       50,000    10/1/2014    9/30/2015 Committed 100%
                                                          Pinkerton Foundation - Youth Power - 2014-
Foundation   The Pinkerton Foundation                     2015                                             175,000    5/16/2014    5/15/2015 Committed 100%

                                                          Tides / Open Society Fdn FFJP Youth United
Foundation   Tides Foundation                             for Police Reform - TFR13-01624 -2013-2014        60,000     6/1/2013    5/31/2014 Committed 100%

                                                          Tides / Open Society Fdn FFJP Youth United
Foundation   Tides Foundation                             for Police Reform - 2014-2015 - TFR14-01810       55,000     7/1/2014    6/30/2015 Committed 100%
                                                          Tides Foundation - General Operating Grant
Foundation   Tides Foundation                             2015 - TFR15-00573                                35,000     1/1/2015   12/31/2015 Committed 100%
             Unitarian Universalist Veatch Program at     Unitarian Universalist VEATCH General
Foundation   Shelter Rock                                 Organizing 2013-2014                              45,000    12/1/2013   11/30/2014 Committed 100%
             Unitarian Universalist Veatch Program at     Unitarian Universalist Veatch LICET 2013-
Foundation   Shelter Rock                                 2014                                              20,000    12/1/2013   11/30/2014 Committed 100%
             Unitarian Universalist Veatch Program at     Unitarian Universalist VEATCH General
Foundation   Shelter Rock                                 Organizing 2014-2015                              45,000    12/1/2014   11/30/2015 Committed 100%
             Unitarian Universalist Veatch Program at     Unitarian Universalist Veatch LICET 2014-
Foundation   Shelter Rock                                 2015                                              40,000    12/1/2014   11/30/2015 Committed 100%
                                                          United We Dream - Own the Dream Project
Foundation   United We Dream Network, Inc.                2013-2014                                         25,000    8/30/2013    4/30/2014 Committed 100%
                                                          MRNY Urban Youth Collaborative Youth
Foundation   Urban Youth Collaborative                    Power 2014                                        60,000     7/1/2014    6/30/2015 Committed 100%
                                                          Wachs Family Fund General Operating Grant
Foundation   Wachs Family Fund                            2014                                              30,000    3/15/2014    3/14/2015 Committed 100%
             William E. & Maude S. Pritchard Charitable
Foundation   Trust                                        Pritchard Trust Long Island 2014-2016            120,000    9/15/2014    9/14/2016 Committed 100%
                                                          Wyckoff Heights Medical Center -
Foundation   Wyckoff Heights Medical Center               Community Health Workers - 2015                  151,136     1/1/2015   12/31/2015 Committed 100%
                                                          Wyckoff Heights Medical Center -
Foundation   Wyckoff Heights Medical Center               Community Health Workers - 2014                  113,250     4/1/2014   12/31/2014 Committed 100%
                                                          Wyss Foundation / CPD - Minimum Wage
Foundation   Wyss Foundation                              Campaign 2014-2015                               125,000    5/16/2014    5/15/2015 Committed 100%
                                                          National Partnership for New Americans
                                                          (NPNA) / OSF / CCC / FIRM - admin relief -
Foundation   Center for Community Change                  2015                                             200,000     1/1/2015   12/31/2015 Likely Renewal 90%
                                                          National Partnership for New Americans
                                                          (NPNA) / OSF / CCC / FIRM - admin relief -
Foundation   Center for Community Change                  2015                                             200,000     1/1/2015   12/31/2015 Likely Renewal 90%
                                                          Center for Community Change / JPB -
Foundation   Center for Community Change                  Workers Organizing - 2014-2015                   150,000   12/15/2014   12/14/2015 Likely Renewal 90%
                                                          CPD / Bill Ackman / Pershing Square - admin
Foundation   Center for Popular Democracy                 relief - 2015                                    300,000     1/1/2015   12/31/2015 Likely Renewal 90%
                                                          CUNY / Mexican Consulate - Long Island
Foundation   City University of New York                  admin relief - 2015                              388,000     1/1/2015   12/31/2015 Likely Renewal 90%

                                                          Deutsche Bank Mexican Student Anchoring
Foundation   Deutsche Bank Americas Foundation            Achievement Staten Island 2015-2016               30,000     9/1/2015    8/31/2016 Likely Renewal 90%

             Donors Education Collaborative in the New    Donors Education Collaborative (DEC) - NYCT
Foundation   York Community Trust                         - Overcrowding Initiative 2015 - 2016             70,000    3/17/2015    3/16/2016 Likely Renewal 90%

             Donors Education Collaborative in the New    NYCT Donors Education Collaborative (DEC) -
Foundation   York Community Trust                         CEJ - Parent Organizing - 2015-2016               95,000    5/17/2015    5/16/2016 Likely Renewal 90%

             Donors Education Collaborative in the New    NYCT Donors Education Collaborative (DEC) -
Foundation   York Community Trust                         CEJ - Parent Organizing - 2015-2016               95,000    5/17/2015    5/16/2016 Likely Renewal 90%




                                                                                  6
        Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 16 of 19 PageID #: 669


             Fund for New Citizens in the New York        Fund for New Citizens at NYCT - Admin Relief
Foundation   Community Trust                              - 2015                                         100,000    1/1/2015   12/31/2015 Likely Renewal 90%
             Fund for New Citizens in the New York        Fund for New Citizens at NYCT - Admin Relief
Foundation   Community Trust                              - 2015                                         100,000    1/1/2015   12/31/2015 Likely Renewal 90%

Foundation   M & T Charitable Foundation                  M & T - Housing Justice Initiative 2015          5,000    1/1/2015   12/31/2015 Likely Renewal 90%
                                                          Nathan Cummings - General Support - 2015-
Foundation   Nathan Cummings Foundation                   2017                                           400,000    7/1/2015    6/30/2017 Likely Renewal 90%

Foundation   New York Immigration Coalition               NYIC - Immigration Campaign - 2013-2014          4,500   10/1/2013    3/14/2014 Likely Renewal 90%

Foundation   Robin Hood Foundation                        Robin Hood Foundation - admin relief - 2015    200,000    1/1/2015   12/31/2015 Likely Renewal 90%
                                                          Pinkerton Foundation - Youth Power - 2015-
Foundation   The Pinkerton Foundation                     2016                                           175,000   5/16/2015    5/15/2016 Likely Renewal 90%
             Unitarian Universalist Veatch Program at     Unitarian Universalist Veatch LICET 2015-
Foundation   Shelter Rock                                 2016                                            40,000   12/1/2015   11/30/2016 Likely Renewal 90%
             Unitarian Universalist Veatch Program at     Unitarian Universalist Veatch General
Foundation   Shelter Rock                                 Organizing 2015-2016                            45,000   12/1/2015   11/30/2016 Likely Renewal 90%
Government                                                Subgrant from ACQC for HIV Prevention
Agency       AIDS Center of Queens County                 2012                                            20,000   12/1/2011   11/30/2014 Committed 100%
Government                                                Community Service Society - ACA Health
Agency       Community Service Society                    Navigator Program 2013-2014                    270,662    8/1/2013    9/30/2014 Committed 100%

Government                                                Community Service Society - Community
Agency       Community Service Society                    Health Advocates 2014-2015                      65,000    7/1/2014    6/30/2015 Committed 100%
Government                                                Community Service Society - ACA Health
Agency       Community Service Society                    Navigator Program 2015-2016                    232,000   10/1/2015    9/30/2016 Committed 100%
Government                                                Community Service Society - ACA Health
Agency       Community Service Society                    Navigator Program 2014-2015                    232,000   10/1/2014    9/30/2015 Committed 100%
Government
Agency       Consortium for Worker Education              CWE - Workforce 2014-2015                       50,000    7/1/2014    6/30/2015 Committed 100%
Government
Agency       Consortium for Worker Education              CWE - Workforce 2013-2014                      116,000    7/1/2014    6/30/2015 Committed 100%
                                                          PICH (formerly called Community
Government                                                Transformation Health Grant CTG) - Queens
Agency       Fund for Public Health in New York           Coalition 2014-2015                            107,000   10/1/2014    9/30/2015 Committed 100%
Government                                                Community Transformation Health Grant
Agency       Fund for Public Health in New York           CTG - Queens Coalition 2013-2014               196,509   9/30/2013    9/29/2014 Committed 100%
                                                          Interest on Lawyer Account Fund of the
Government   Interest on Lawyer Account Fund of the       State of NY (IOLA) 2013-2015 - Contract #
Agency       State of New York                            C014047                                        350,000    4/1/2013    3/31/2015 Committed 100%
Government   National Institute for Occupational Safety   NIOSH Sandy Health and Safety Study 2013-
Agency       and Health                                   2015                                           138,322   10/1/2013    9/30/2015 Committed 100%

             New York City Communities of Color
Government   HIV/AIDS Coalition - Public Health           HIV AIDS Communities of Color Initiative
Agency       Solutions/Community Resource Exchange        2014-2015, Contract # 08-AMC-843                59,063    7/1/2014    6/30/2015 Committed 100%

             New York City Communities of Color
Government   HIV/AIDS Coalition - Public Health           HIV AIDS Communities of Color Initiative
Agency       Solutions/Community Resource Exchange        2013-2014, Contract # 08-AMC-843                45,000    7/1/2013    6/30/2014 Committed 100%
Government                                                NYC DSBS Small Business United
Agency       New York City Council                        Discretionary 2014-2015                         30,000    7/1/2014    6/30/2015 Committed 100%
Government                                                Misc. DYCD Discretionary 2014-2015
Agency       New York City Council                        Contract # 68038M                               31,500    7/1/2014    6/30/2015 Committed 100%
Government                                                Misc. DYCD Discretionary 2014-2015
Agency       New York City Council                        Contract # 23280M                               12,500    7/1/2014    6/30/2015 Committed 100%

Government                                                Department of Education (DoE) Student
Agency       New York City Department of Education        Success Center Spring Semester 2014             99,996    3/1/2014    6/30/2014 Committed 100%
Government                                                NYC DOE Student Success Center MTAC 2014-
Agency       New York City Department of Education        2015                                           125,000    7/1/2014    6/30/2015 Committed 100%
Government                                                DoE Bushwick Campus Bridge to College
Agency       New York City Department of Education        Summer 2014                                      8,508    5/1/2014    8/31/2014 Committed 100%




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       Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 17 of 19 PageID #: 670


Government                                              United Way NYC DoE AIDP Community
Agency       New York City Department of Education      Schools 2014-2015                            467,747   11/10/2014    6/30/2015 Committed 100%
Government   New York City Department of Small Business NYBAC SBS Citi CDC Immigrant Business
Agency       Services                                   Initiative 2014-15                            35,000     9/1/2014    8/31/2015 Committed 100%
                                                        DYCD Comprehensive Literacy Services -
Government   New York City Department of Youth &        ESOL 2014-2015 Contract# 766609 cdbg
Agency       Community Development                      9917                                          68,955     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &        DYCD NDA Immigrants SI 850101 2014-2015 -
Agency       Community Development                      $67,187                                       67,187     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &        DYCD NDA Immigrants QNs 840302 2014-
Agency       Community Development                      2015 - $66,595                                66,595     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &
Agency       Community Development                      DYCD GED 840402 2014-2015 - $64,800           64,800     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &        DYCD Immigrant Families Youth 2014-2015 -
Agency       Community Development                      Contract # 77131                             166,701     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &        DYCD NDA Healthy Families Qns 2014-2015 -
Agency       Community Development                      Contract # 840401 - $80,188                   80,188     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &        DYCD NDA Immigrants BK 820401 2014-2015
Agency       Community Development                      - $72,740                                     72,740     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &        DYCD Workers Legal 77137 2013-2014 -
Agency       Community Development                      $271,968                                     271,968     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &        DYCD Workers Legal 77137 2013-2014 -
Agency       Community Development                      $126,391 DACA supp                           126,391     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &        DYCD NDA Immigrants QNs 840302 2013-
Agency       Community Development                      2014 - $62,426                                62,426     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &        DYCD Adult Literacy 2013-14 - Contract #
Agency       Community Development                      766523 (9917 CDBG)                            68,703     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &
Agency       Community Development                      DYCD GED 840402 2013-2014 - $60,743           60,743     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &        DYCD Adult Lit 2013-2014 - Contract #
Agency       Community Development                      766523 (9920 CSBG)                            29,866     7/1/2013    6/30/2014 Committed 100%

Government   New York City Department of Youth &       DYCD NDA Immigrants BK 820401 2013-2014
Agency       Community Development                     - $31,688 DACA supp/$21,132 subcontract        52,820     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &       DYCD GED 840402a 2013-2014 - $112,256
Agency       Community Development                     DACA supp                                     112,256     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &       DYCD NDA Immigrants QNS 840302 2013-
Agency       Community Development                     2014 - $29,011 DACA supp                       29,011     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &       DYCD NDA Immigrants SI 850101 2013-2014 -
Agency       Community Development                     $62,981 DACA supp                              62,981     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &       DYCD NDA Immigrants SI 850101 2013-2014 -
Agency       Community Development                     $29,269                                        29,269     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &       DYCD NDA Healthy Families Qns 2013-2014 -
Agency       Community Development                     Contract # 840401                              75,168     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &       DYCD NDA Immigrants BK 820401 2013-2014
Agency       Community Development                     - $68,186                                      68,186     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &       DYCD Immigrant Families Youth 2013-2014 -
Agency       Community Development                     Contract # 77131                              119,237     7/1/2013    6/30/2014 Committed 100%
Government   New York City Department of Youth &       DYCD Comprehensive Literacy Services -
Agency       Community Development                     DACA Legal Services Contract # 766676         188,600     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &       DYCD Comprehensive Literacy Services - ABE
Agency       Community Development                     HSE 2014-2015 Contract #766659                100,920     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &       Misc. DYCD Discretionary 2014-2015
Agency       Community Development                     Contract # 28256M                             170,000     7/1/2014    6/30/2015 Committed 100%
Government   New York City Department of Youth &       Misc. DYCD Discretionary 2014-2015
Agency       Community Development                     Contract # 76719M                              14,862     7/1/2014    6/30/2015 Committed 100%

Government                                             NYS Assembly Immigration Legal Services
Agency       New York State Assembly                   2014-2015 - DCJS Contract # C444195           150,000    8/15/2014    8/14/2015 Committed 100%
                                                       NYS Assembly Immigration Legal Services
Government                                             2013-2014 - DCJS Contract # C139821 - LG13-
Agency       New York State Assembly                   1108-D00                                      150,000    8/15/2013    8/14/2014 Committed 100%
                                                       AIDS Institute - LGBT Health and Human
Government                                             Services 2013-2014, Contract # C028614 -
Agency       New York State Department of Health       COLA Supplemental                               9,901     7/1/2014   12/31/2014 Committed 100%



                                                                             8
       Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 18 of 19 PageID #: 671


Government                                               DOS ONA - Office of New Americans -
Agency       New York State Department of State          Queens 2013-2014 - C1000125                       150,000   10/1/2013   9/30/2014 Committed 100%

Government                                               DOS ONA - Office of New Americans - Long
Agency       New York State Department of State          Island 2013-2014 - Contract # C1000131            150,000   10/1/2013   9/30/2014 Committed 100%
Government                                               DOS ONA - Office of New Americans -
Agency       New York State Department of State          Queens 2014-2015 - C1000125                       150,000   10/1/2014   9/30/2015 Committed 100%

Government                                               DOS ONA - Office of New Americans - Long
Agency       New York State Department of State          Island 2014-2015 - Contract # C1000131            150,000   10/1/2014   9/30/2015 Committed 100%
Government
Agency       New York State Education Department         NYSED ALE 2014-2015 - Contract # C401763          145,885    7/1/2014   6/30/2015 Committed 100%
Government
Agency       New York State Education Department         NYSED ALE 2013-2014 - Contract # C401763          145,885    7/1/2013   6/30/2014 Committed 100%
Government                                               NYSED WIA-WEP ABE-ESOL 2013-2014
Agency       New York State Education Department         Contract # C402172                                489,694    7/1/2013   6/30/2014 Committed 100%
Government
Agency       New York State Education Department         NYSED WIA-WEP ABE-ESOL 2014-2015                  489,740    7/1/2014   6/30/2015 Committed 100%
                                                         NYSERDA - Green Jobs Green NY - Workforce
Government   New York State Energy Research and          Brooklyn and SI 2012-2014 - Contract #
Agency       Development Authority                       24348                                             120,000   5/23/2012   6/25/2014 Committed 100%
Government   New York State Office of Court              OCA Judiciary Civil Legal Services 2013-2014 -
Agency       Administration                              Contract # C500999                                282,394    4/1/2013   3/31/2014 Committed 100%
Government   New York State Office of Court              OCA Judiciary Civil Legal Services 2014-2015 -
Agency       Administration                              Contract # C500999                                397,024    4/1/2014   3/31/2015 Committed 100%
Government   New York State Office of Court              OCA Judiciary Civil Legal Services 2015-2016 -
Agency       Administration                              Contract # C500999                                397,024    4/1/2014   3/31/2015 Committed 100%
                                                         Social Services Block Grant SSBG -
Government   New York State Office of Temporary and      Superstorm Sandy 2013-2015 - Contract #
Agency       Disability Assistance                       C021599                                           865,380    9/1/2013   9/30/2015 Committed 100%
Government                                               NYC Service - NYC Civic Corps - Adult Lit 2014-
Agency       NYC Service                                 2015                                               26,500    9/4/2014   7/11/2015 Committed 100%
                                                         USCIS Citizenship and Integration Grant
Government   United States Citizenship and Immigration   Program 2013-2015, Award # 2013-CS-010-
Agency       Services                                    000006                                            250,000   10/1/2013   9/30/2015 Committed 100%
                                                         OSHA Susan Harwood Training Grant
Government                                               Program - Workforce 2014-15 (Contract # SH-
Agency       United States Department of Labor           26264-14-60-F36)                                  159,600   10/1/2014   9/30/2015 Committed 100%
                                                         OSHA Susan Harwood Training Grant
Government                                               Program - Workforce 2013-2014 - Contract #
Agency       United States Department of Labor           SH-24855-13-60-F-36                               159,600   10/1/2013   9/30/2014 Committed 100%

Government                                               Community Service Society - Community
Agency       Community Service Society                   Health Advocates 2015-2016                         65,000    7/1/2015   6/30/2016 Likely Renewal 90%
Government
Agency       New York City Council                       NY City Council Worker Coop Grant 2015-16          70,000    7/1/2015   6/30/2016 Likely Renewal 90%
Government                                               NYC DOE Student Success Center MTAC 2015-
Agency       New York City Department of Education       2016                                              125,000    7/1/2015   6/30/2016 Likely Renewal 90%
Government   New York City Department of Youth &         HRA Workers Legal (DYCD 77137 7/1/14-
Agency       Community Development                       9/30/14) 2014-2015 - $271,968                     271,968    7/1/2014   6/30/2015 Likely Renewal 90%
Government
Agency       New York State Education Department         NYSED WIA-WEP ABE-ESOL 2015-2016                  489,740    7/1/2015   6/30/2016 Likely Renewal 90%
Government
Agency       New York State Education Department         NYSED WIA-WEP ABE-ESOL 2016-2017                  489,740    7/1/2016   6/30/2017 Likely Renewal 90%

Government   FORMER Office of City Council Member        DYCD IOI Queens Delegation Discretionary
Official     Leroy Comrie                                2013-2014 Contract # 77667L                        25,000    7/1/2013   6/30/2014 Committed 100%

Government   FORMER Office of City Council Member        DYCD IOI Queens Delegation Discretionary
Official     Leroy Comrie                                2014-2015 Contract # 77667M                        25,000    7/1/2014   6/30/2015 Committed 100%
Government                                               Misc. DYCD Discretionary 2013-2014
Official     New York City Council                       Contract # 28256L                                 147,925    7/1/2013   6/30/2014 Committed 100%
Government                                               Misc. DYCD Discretionary 2013-2014
Official     New York City Council                       Contract # 23280L                                  17,500    7/1/2013   6/30/2014 Committed 100%




                                                                                 9
        Case 2:18-cv-03549-GRB-ST Document 39-26 Filed 03/01/19 Page 19 of 19 PageID #: 672



Government                                                 DYCD Discretionary Workforce Development
Official        New York City Council                      2013-2014 Contract #28613L                          75,000    7/1/2013    6/30/2014 Committed 100%
Government      Office of Brooklyn Borough President Marty Brooklyn Borough President Marty
Official        Markowitz                                  Markowitz Capital Request FY2012                   264,128   9/15/2011   12/31/2014 Committed 100%
Government                                                 Staten Island Capital Request FY2012
Official        Office of Council Member Daniel Dromm      Moveable Property                                  127,850   9/15/2011   12/31/2014 Committed 100%

Government                                                     DYCD Adult Literacy Initiative Discretionary
Official        Office of Council Member Sara M. Gonzalez      2013-2014 Contract # 76672L                     30,000    7/1/2013    6/30/2014 Committed 100%

Government                                                     DYCD Adult Literacy Initiative Discretionary
Official        Office of Council Member Sara M. Gonzalez      2014-2015 Contract # 76672M                     30,000    7/1/2014    6/30/2015 Committed 100%

Other Revenue                                                  Academy for Urban Planning - College Access
Source          Academy of Urban Planning                      support 2013-14                                 22,500    9/1/2013    8/30/2014 Committed 100%
                                                               Center for Public Interest Research -
                                                               Accelerate Change - Member Organizing -
Corporation     Center for Public Interest Research            2014                                            15,000   3/25/2014    9/25/2014 Committed 100%
                                                               Center for Public Interest Research -
                                                               Accelerate Change - NJ Member Organizing -
Corporation     Center for Public Interest Research            2014-15                                         20,000    9/1/2014    6/30/2015 Committed 100%
Corporation     Make the Road Action Fund                      MRAF Bankworker Organizing 2014                 20,000    1/1/2014   12/31/2014 Committed 100%
                                                               UNY - MRAF - General Organizing - July-Dec
Corporation     Make the Road Action Fund                      2014                                            45,180    7/1/2014   12/31/2014 Committed 100%
                                                               UNY - MRAF - General Organizing - Jan-June
Corporation     Make the Road Action Fund                      2014                                            45,180    1/1/2014    6/30/2014 Committed 100%
                                                               Michael D Baker - NIEHS WorkforceTraining -
Corporation     Michael D. Baker Inc.                          August 2014                                      5,000    8/1/2014    8/31/2014 Committed 100%
                                                               Michael D Baker - NIEHS Workforce Training -
Corporation     Michael D. Baker Inc.                          November 2014                                    5,000   11/1/2014   11/30/2014 Committed 100%

                                                               BuildingWorks/NYC District Council of
Corporation     New York City District Council of Carpenters   Carpenters Labor Technical College 2014         13,600    1/1/2014   12/31/2014 Committed 100%
                Retail, Wholesale and Department Store
Corporation     Union                                          RWDSU - Net of Rent Contribution - 2014         25,000    1/1/2014   12/31/2014 Committed 100%
                Retail, Wholesale and Department Store
Corporation     Union                                          RWDSU Car Wash Grant 2014                      120,000    1/1/2014   12/31/2014 Committed 100%
                Retail, Wholesale and Department Store
Corporation     Union                                          RWDSU Car Wash Grant 2015                      120,000    1/1/2015   12/31/2015 Committed 100%
                Retail, Wholesale and Department Store
Corporation     Union                                          RWDSU - Net of Rent Contribution - 2015         25,000    1/1/2015   12/31/2015 Committed 100%
                                                               Tony Mazzocchi Center / USW - Health and
Corporation     Tony Mazzocchi Center                          Safety Training Aug 2014-Jan 2015              150,000    8/1/2014    1/31/2015 Committed 100%
                                                               Tony Mazzocchi Center / USW - Health and
Corporation     Tony Mazzocchi Center                          Safety Training - 2014                          99,960    5/1/2014    7/31/2014 Committed 100%
                                                               Tony Mazzocchi Center / USW - Sandy/OSHA
Corporation     Tony Mazzocchi Center                          Trainings 2014                                  10,590    1/1/2014    6/30/2014 Committed 100%
                                                               Tony Mazzocchi Center / USW - Train-the-
Corporation     Tony Mazzocchi Center                          Trainer 2014                                    12,600    1/1/2014    6/30/2014 Committed 100%
Corporation     UFCW International                             UFCW General Operating 2014                      5,000    1/1/2014   12/31/2014 Committed 100%
                                                               WFP / UNY Local Minimum Wage Campaign
Corporation     Working Families Party                         March - July 2014                               20,000    3/1/2014     7/1/2014 Committed 100%

Corporation     Make the Road Action Fund                      MRAF / CPD / OSF - minimum wage - 2014          77,500    9/1/2014   12/31/2014 Likely Renewal 90%




                                                                                      10
